Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 1 of 19




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. ____________________

  ERIN JOHNSON,
  JOCELYN KLEIN, and
  LAURA SCIARCON, individually, and on behalf of all others similarly situated,

         Plaintiffs,

  v.

  COLORADO SEMINARY, a/k/a UNIVERSITY OF DENVER, d/b/a “Fisher Early
  Learning Center,”

         Defendant.


          INDIVIDUAL, COLLECTIVE, AND CLASS ACTION COMPLAINT


         Plaintiffs, Erin Johnson, Jocelyn Klein, and Laura Sciarcon, individually, and on

  behalf of all others similarly situated, by and through the undersigned counsel from the

  Sawaya & Miller Law Firm and Towards Justice, a Colorado non-profit legal services

  organization, as their Individual, Collective, and Class Action Complaint against

  Defendant, Colorado Seminary, which is also known as the University of Denver,

  (hereinafter “University of Denver”), doing business as “Fisher Early Learning Center,”

  state as follows:

                               I.     NATURE OF ACTION

  1.     Plaintiffs, Erin Johnson (“Johnson”), Jocelyn Klein (“Klein”), and Laura Sciarcon

  (“Sciarcon”) (collectively, “Plaintiffs”) allege that Defendant, Colorado Seminary/ the

  University of Denver, doing business as “Fisher Early Learning Center” (“FELC”) willfully

                                             1
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 2 of 19




  violated their rights, and the rights of similarly-situated employees, under the Fair Labor

  Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), by failing to pay them overtime

  compensation for the hours they worked in excess of 40 per week.

  2.     Plaintiffs’ bring their FLSA claims individually and as a collective action under

  29 U.S.C. § 216(b).

  3.     Plaintiffs also allege that FELC violated their rights, and the rights of similarly -

  situated employees, under Article XVIII § 15 of the Colorado Constitution, the Colorado

  Wage Act, C.R.S. § 8-4-101 et seq., and Colorado’s Minimum Wage Orders, 7 C.C.R.

  1103-1 (collectively, “Colorado Wage and Hour Law”), by failing to pay them overtime

  compensation for the hours they worked in excess of 40 per week and/or 12 per day and

  failing to provide them with compensated 10-minute rest breaks for each 4 hours, or

  major fractions thereof, that they worked.

  4.     Additionally, Plaintiffs allege claims for breach of contract and, in the

  alternative, promissory estoppel, under Colorado common law based on FELC’s failure

  to pay them for all of their overtime hours.

  5.     Plaintiffs bring their Colorado Wage and Hour Law claims, their breach of

  contract claims, and their promissory estoppel claims individually and as a class action

  pursuant to Rule 23 of the Federal Rules of Civil Procedure.

  6.     Plaintiffs bring this action to obtain equitable relief and money damages for

  themselves and a Class of consisting of nonexempt caregiver employees of FELC. They

  seek a declaratory judgment, actual damages, unpaid overtime compensation, liquidated




                                                 2
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 3 of 19




  damages, statutory penalties, interest, and reimbursement for reasonable attorneys’ fees and the

  costs of this action.

                               II.     JURISDICTION AND VENUE

  7.      This Court has original jurisdiction over Plaintiffs’ FLSA claims because those claims

  arise under the laws of the United States. 28 U.S.C. § 1331; 29 U.S.C. § 216(b).

  8.      The Court has supplemental jurisdiction over Plaintiffs’ Colorado Wage and Hour Law

  claims, breach of contract claims, and promissory estoppel claims because those causes of action

  are so related to Plaintiffs’ FLSA claims that they form part of the same case or controversy

  under Article III of the United States Constitution. 28 U.S.C. § 1367(a).

  9.      Venue is proper in this Court because a substantial part of the events or omissions giving

  rise to Plaintiffs’ claims occurred in this District. 28 U.S.C. § 1391(b)(2).

                                           III.    PARTIES

  10.     Plaintiff Erin Johnson (“Johnson”) is a citizen of the United States of America who

  resides in Denver, Colorado.

  11.     Plaintiff Jocelyn Klein (“Klein”) is a citizen of the United States of America who resides

  in Arapahoe County, Colorado.

  12.     Plaintiff Laura Sciarcon (“Sciarcon”) is a citizen of the United States of America who

  resides in Arapahoe County, Colorado.

  13.     The addresses of Plaintiffs’ counsel are 1600 Ogden Street, Denver, Colorado 80218 and

  1535 High Street, Suite 300, Denver, Colorado 80218.

  14.     Defendant, the Colorado Seminary also known as University of Denver and doing

  business as “Fisher Early Learning Center” (“FELC’ or “University of Denver”) is a Colorado


                                                    3
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 4 of 19




  nonprofit corporation with its principal office at 2199 South University Boulevard, Denver,

  Colorado 80208.

                                IV.   FACTUAL ALLEGATIONS

                                      A. GENERAL ALLEGATIONS

  15.    FELC is a daycare facility for infants, toddlers and small children that is located in

  Denver, Colorado.

  16.    On information and belief, FELC’s gross income, or the gross income of an enterprise of

  which FELC is a part, during each of the three years preceding this Complaint has been more

  than $500,000.00 per year.

  17.    Plaintiffs are part of a class consisting of dozens of caregiver employees who worked for

  FELC and who were not paid overtime compensation for the hours they worked in excess of 40

  per week and/or 12 per day and not provided with 10 minute rest breaks (“the Class”).

                                          Erin Johnson

  18.    Johnson worked at FELC from 2008-2009, and from June 2013 to October 2015.

  19.    During her employment, Johnson was responsible for the care of children that were 1 ½

  years old to 2 ½ years old.

  20.    Johnson’s primary duty was caring for these toddlers, e.g., by handling behavioral

  problems, toilet training, assisting with meal times, changing diapers, and deep cleaning and

  sanitizing rooms and equipment.

  21.    Throughout her employment, and during each workweek thereof, Johnson routinely

  worked more than 50 hours per week, and often worked as many as 65 hours per week.

  22.    Johnson also worked more than 12 hours per day on a regular basis.


                                                 4
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 5 of 19




  23.    Johnson usually worked through her lunch breaks in order to satisfy the expectations

  FELC communicated to its caregiver employees.

  24.    Johnson also worked from home and on weekends to satisfy FELC’s requirements.

  25.    In short, Johnson worked overtime hours in excess of 40 per week during every, or

  almost every, workweek of her employment.

  26.    For example, during every week from June 2014 to August 2015, Johnson worked a

  mandatory 20 hours per week, beyond the 40 hours per week that she worked with her children,

  to certify on the “Pyramid Plus” program for FELC.

  27.    Johnson’s participation in the program was requested by FELC and primarily for the

  benefit of FELC.

  28.    FELC did not pay Johnson an overtime premium for the hours she worked in excess of 40

  per week or 12 per day at any time from 2008 to December 2016.

  29.    Additionally, during each week of her employment, FELC did not provide Johnson or the

  Class members with 10 minute rest periods for every 4 hours, or fractions thereof, that they

  worked.

                                              Jocelyn Klein

  30.    Klein was employed by FELC from June 2011 to July 2017.

  31.    Klein was responsible for the care of children between the ages of 3 and 5.

  32.    Klein’s job duties were similar to those of Johnson.

  33.    Klein often worked more than 40 hours per week during her employment – working

  during her lunch period, on the weekend, during evenings, early mornings, and during other

  personal time to fulfill duties for FELC.


                                                   5
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 6 of 19




  34.    For example, Klein worked more than 40 hours per week during the weeks of May 23,

  2016, May 30, 2016, and June 6, 2016.

  35.    Klein also worked more than 12 hours per day during certain times of the year.

  36.    FELC did not pay Klein overtime compensation for the hours she worked in excess of 40

  per week or 12 per day at any time from June 2011 to December 2016.

  37.    Like Johnson, Klein was not provided with rest breaks.

                                          Laura Sciarcon

  38.    Sciarcon is currently employed by FELC. She has worked at FELC since June 2010.

  39.    Sciarcon has been employed by FELC as a full-time employee since April 29, 2013.

  40.    Sciarcon currently cares for children between the ages of 2 ½ years old and 4 years old.

  Her primary duty is caring for the children, e.g., assisting them with behavior management, toilet

  training, and meal times, cleaning and sanitizing rooms.

  41.    Sciarcon worked more than 40 hours per week during each and every workweek from

  April 29, 2013 to December 2016.

  42.    Sciarcon worked 50 hours or more per week during every, or almost every, week from

  June 2010 to December 2016. She worked through lunch, without breaks, and late into the

  evening to comply with FELC’s requirements.

  43.    FELC did not pay Sciarcon an overtime premium for the hours she worked in excess of

  40 per week or 12 per day at any time from June 2010 to December 2016.

  44.    Like Johnson and Klein, Sciarcon has not been provided with 10 minute rest periods

  during any week of her employment with FELC.




                                                  6
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 7 of 19




                                  FELC’s Failure to Pay Overtime

  45.    On November 23, 2016, the Vice Chancellor of the University of Denver, Amy King,

  sent an email to Klein, Sciarcon, and the members of their Class that were currently employed at

  FELC, explaining that they were “deemed non-exempt by the Department of Labor because

  [FELC] is licensed by the Department of Health and Human Services rather than the Department

  of Education.”

  46.    Having admitted that it had misclassified the members of the Class as “exempt,” FELC

  promised to pay them for the overtime they had worked from June 2014 to November 2016.

  47.    FELC did not offer to pay Plaintiffs and Class members for the overtime work they

  performed prior to June 2014.

  48.    Because FELC did not keep adequate records of the overtime worked by the members of

  the Class prior to December 2016, FELC requested that the Class members provide it with

  information regarding their overtime hours.

                            FELC’s Refusal to Compensate Plaintiffs

  49.    Johnson submitted documentation to FELC demonstrating that she had worked at least

  1,718 hours of overtime during 2014 and 2015.

  50.    Although Johnson had worked hundreds of overtime hours in 2008, 2013 and during the

  early months of 2014, she did not submit those hours to FELC because FELC told her that they

  would not pay for them.

  51.    Instead of paying Johnson for all of the overtime hours she worked, FELC gave Johnson

  a check for approximately 400 hours of work.




                                                  7
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 8 of 19




  52.      Klein submitted documentation to FELC demonstrating that she worked at least 1,850

  hours of overtime from June 2014 to November 2016, the period that FELC said it would

  consider for payment (hereinafter the “Relevant Period”).

  53.      Although Klein worked hundreds of overtime hours during every year from 2011 to

  2014, FELC did not offer to pay for those hours.

  54.      Instead of paying her for all 1,850 of her overtime hours, FELC paid Klein for only 770

  hours.

  55.      Sciarcon submitted documentation to FELC demonstrating that she had worked at least

  1,450 hours of overtime during the Relevant Period.

  56.      Like Klein and Johnson, Sciarcon worked hundreds of overtime hours during every year

  of her employment, but did not submit all of those hours to FELC because FELC did not offer to

  pay for them.

  57.      FELC did not pay Sciarcon for all of her overtime during the Relevant Period, instead

  issuing her a check for 777 hours.

  58.      Plaintiffs are aware of many other Class members who were not paid for all of their

  overtime hours.

  59.      In each instance, FELC issued a check to the Class member for an arbitrary, reduced

  amount.

  60.      On information and belief, some Class members were not paid anything for their

  overtime hours.

  61.      FELC has refused to explain to Plaintiffs why it reduced their overtime hours and paid

  them and similarly-situated employees for less than the number of hours they submitted.


                                                  8
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 9 of 19




  62.      On information and belief, at least 30 – and likely as many as 50 – Class members have

  been affected by FELC’s refusal to pay overtime in accordance with the law to its caregiver

  employees.

                                        Plaintiffs’ Demands

  63.      Observing that FELC had paid them the same, reduced amount despite the difference in

  their submitted hours, Klein and Sciarcon became concerned that FELC was not paying them

  and the Class members for the overtime hours they actually worked.

  64.      For several months, Plaintiffs sent e-mails to FELC requesting an explanation for the

  amount that was paid, and seeking immediate payment of the amounts due to them.

  65.      On August 10, 2017, Johnson sent a certified letter to FELC on behalf of herself and all

  of the members of the Class demanding immediate payment of the overtime compensation due to

  them and compensation for the rest breaks they were prevented from taking.

  66.      FELC ignored Johnson’s demand, thus continuing its refusal to pay Plaintiffs and the

  Class.

                                     B. COLLECTIVE ALLEGATIONS

  67.      Plaintiffs bring Count I of this Complaint under Section 216 of the FLSA, 29 U.S.C.

  §216(b), on behalf of themselves and the members of the following proposed Class:

                  All nonexempt employees who worked at the Fisher Early Learning
                  Center as caregivers and who worked more than 40 hours per week
                  during any work week.

  68.      These claims are properly brought as a Section 216 collective action because Johnson,

  Klein and Sciarcon, and the members of the proposed Class are similarly situated:

              a. The Class members were all employed by FELC;


                                                  9
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 10 of 19




               b. The Class members were all principally responsible for the care of small children,

                   including providing direct care, behavioral management, providing meals, and

                   cleaning rooms;

               c. The Class members were all subjected to the same policies and practices, namely:

                   (1) FELC’s misclassification of them as “exempt” from the overtime requirements

                   of the FLSA; and (2) FELC’s failure and/or refusal to pay them overtime

                   compensation of one and one-half times their regular rate of pay for all of the

                   hours they worked in excess of 40 per week; and

               d. The Class members’ claims, and any defenses thereto, may be established through

                   common proof and representative evidence.

   69.     The pooling of resources will lower the burden on individual Class members asserting

   their rights under the FLSA. Moreover, it is both procedurally feasible and most fair to both

   parties to adjudicate this action collectively.

   70.     Plaintiffs have consented to be members of this collective action and their Consents to

   Join are attached hereto as Exhibits 1-3.

                                           C. CLASS ALLEGATIONS

   71.     Plaintiffs bring Counts II-V of this Complaint as class claims pursuant to Rule 23 of the

   Federal Rules of Civil Procedure on behalf of the members of the following proposed Class:

                   All nonexempt employees who worked at the Fisher Early Learning
                   Center as caregivers and who worked more than 40 hours per week
                   during any week and/or more than 12 hours in any day and/or were
                   not provided with paid rest breaks.1

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     Plaintiffs note that the question of what statute of limitations applies to Colorado Wage Act
   claims is currently before the Colorado Supreme Court in the case of Hernandez v. Ray
   Domenico Farms, Inc. See Civil Action No. 16–cv–1929–WJM–CBS (D. Colo. April 4, 2017)
                                                     10
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 11 of 19




   72.     Plaintiffs’ claims are properly brought as a class action under Rule 23 because the

   proposed Class satisfies the Rule’s requirements for numerosity, commonality, typicality, and

   adequacy, as set forth below.

                                              Numerosity

   73.     FELC employs dozens of nonexempt caregiver employees at any given time.                On

   information and belief, there are at least 30 – and may be as many as 50 – FELC employees

   and/or former employees that are similarly situated to Plaintiffs. As such, joinder of all Class

   members is entirely impracticable.

                                             Commonality

   74.     There are questions of law and fact that are common to the Class, which questions

   predominate over any questions affecting only individual members. These questions of law and

   fact include, but are not limited to:

                   (1) Whether FELC improperly classified Class members as “exempt” from the

                       overtime requirements of Colorado Wage and Hour Law;

                   (2) Whether FELC had a policy or practice of not paying the Class members one

                       and one-half times their regular rate of pay for all hours worked in excess of

                       40 per week;

                   (3) Whether FELC had a policy or practice of not paying the Class members one

                       and one-half times their regular rate of pay for all hours worked in excess of

                       12 per day;


   (certifying question to Colorado Supreme Court). Plaintiffs may seek to amend their complaint
   based on the disposition of that case.
                                                   11
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 12 of 19




                  (4) Whether FELC failed to provide the Class members with compensated 10

                     minute rest periods for all 4 hour periods, or major fractions thereof, that they

                     worked;

                  (5) Whether FELC violated Colorado Wage and Hour Law by failing to pay Class

                     members for all of the hours they worked in excess of 40 per week and/or 12

                     per day and by failing to provide Class members with paid rest periods;

                  (6) Whether FELC’s violations of Colorado Wage and Hour law were willful;

                  (7) Whether FELC committed breach of contract by failing to pay Class members

                     for the overtime hours they worked from June 2014 to November 2016, and if

                     not, whether Class members are nevertheless entitled to compensation for all

                     of their overtime hours under the equitable doctrine of promissory estoppel;

                     and

                  (8) Whether the Class members were harmed by FELC’s refusal to pay them

                     overtime compensation and provide them with paid rest periods.

                                              Typicality

   75.    The claims of Plaintiffs are typical of the claims of the Class. Like all of the Class

   members, Plaintiffs were employed by FELC and were not paid for all of their overtime hours or

   provided with paid rest breaks. Moreover, the defenses and legal theories FELC will assert in

   response to such claims are likely to be the same as to all Class members.

                                              Adequacy

   76.    Plaintiffs will fairly and adequately protect the interests of the Class. They have retained

   the Sawaya & Miller Law Firm and Towards Justice, counsel that is experienced in class action


                                                  12
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 13 of 19




   litigation and wage and hour law. Plaintiffs and their counsel are free from any conflicts of

   interest that might prevent them from pursuing this action on behalf of the Class, and have

   adequate resources to assure that the interests of the Class will not be harmed.

   77.     Additionally, the prosecution of separate actions by individual members of the Class

   would create a risk of inconsistent or varying adjudications with respect to individual members

   of the Class which would establish incompatible standards of conduct for FELC, or adjudications

   with respect to individual members of the Class which would as a practical matter be dispositive

   of the interests of the other members not parties to the adjudications, or substantially impair or

   impede their ability to protect their interest.

   78.     FELC has acted or refused to act on grounds generally applicable to the Class and as

   such, final injunctive or declaratory relief with respect to the Class as a whole is appropriate.

   79.     No member of the Class has expressed any interest in controlling the prosecution of a

   separate action. On information and belief, no other litigation concerning the subject matter of

   this action has been commenced by any member of the Class.

                        V.       INDIVIDUAL AND COLLECTIVE CLAIMS

                                                 COUNT I:

              FAILURE TO PAY OVERTIME COMPENSATION IN VIOLATION OF THE FLSA

                                               29 U.S.C. § 207

   80.     Plaintiffs incorporate the facts alleged in each of the foregoing paragraphs as if fully set

   forth below.

   81.     At all times relevant to this Complaint, FELC was an “employer,” and an “enterprise

   engaged in commerce,” as defined by the FLSA. 29 U.S.C. § 203(d), (s).


                                                     13
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 14 of 19




   82.     At all times relevant to this Complaint, Plaintiffs and Class members were “employees”

   engaged in commerce and entitled to the overtime protections of the FLSA. 29 U.S.C. § 203(e);

   207(a)(1).

   83.     At all times relevant to this Complaint, FELC was required to pay Plaintiffs and Class

   members at a rate of one and one-half times their regular rate of pay for all hours worked in

   excess of 40 per week. 29 U.S.C. § 207(a)(2).

   84.     Plaintiffs and Class members regularly worked more than 40 hours per week.

   85.     FELC failed to pay Plaintiffs and Class members at a rate of one and one-half times their

   regular rates of pay for all of the hours they worked in excess of 40 per week, thus violating the

   FLSA.

   86.     At all times relevant to this Complaint, FELC was aware of the requirements of the

   FLSA, and as such, FELC’s violations of the FLSA were willful.

                            VI.     INDIVIDUAL AND CLASS CLAIMS

                                              COUNT II:

                   FAILURE TO PAY OVERTIME COMPENSATION IN VIOLATION OF
                               COLORADO WAGE AND HOUR LAW

                                    Colo. Const. art. XVIII § 15
                                       C.R.S. § 8-4-101 et seq.
                                         7 C.R.S. § 1103-1:4

   87.     Plaintiffs incorporate the facts alleged in each of the foregoing paragraphs as if fully set

   forth below.

   88.     At all times relevant to this Complaint, FELC was an “employer,” as defined by Colorado

   Wage and Hour Law. C.R.S. 8-4-101(6); 7 C.C.R. § 1103-1:2.



                                                   14
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 15 of 19




   89.    At all times relevant to this Complaint, Plaintiffs and the Class were “employees”

   covered by Colorado Wage and Hour Law. C.R.S. 8-4-101(5); 7 C.C.R. § 1103-1:2.

   90.    Colorado Wage and Hour Law required FELC to pay Plaintiffs and Class members

   overtime compensation at a rate of one and one-half times their regular rate of pay for all hours

   worked in excess of 40 per week or 12 per day. 7 C.C.R. § 1103-1:4.

   91.    Plaintiffs and Class members regularly worked more than 40 hours per week and/or 12

   hours per day.

   92.    FELC violated Colorado Wage and Hour Law by failing to pay Plaintiffs and Class

   members overtime compensation for all of the hours they worked in excess of 40 per week

   and/or 12 per day.

   93.    At all times relevant to this Complaint, FELC was aware of the overtime requirements of

   Colorado Wage and Hour Law. FELC’s violations were therefore willful.

   94.    Pursuant to C.R.S. § 8-4-109, Johnson submitted a demand for overtime compensation to

   FELC on behalf of herself and all of the members of the Class on August 10, 2017.

   95.    FELC refused to pay anything in response to Johnson’s demand.

                                             COUNT III:

                    FAILURE TO PROVIDE PAID REST BREAKS IN VIOLATION OF
                              COLORADO WAGE AND HOUR LAW

                                   Colo. Const. art. XVIII § 15
                                      C.R.S. § 8-4-101 et seq.
                                        7 C.C.R. § 1103-1:8

   96.    Plaintiffs incorporate the facts alleged in each of the foregoing paragraphs as if fully set

   forth below.



                                                  15
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 16 of 19




   97.    Under Colorado Wage and Hour Law, FELC was required to provide Plaintiffs and Class

   members with “compensated ten (10) minute rest period[s] for each four (4) hours or major

   fractions thereof” that they worked. 7 C.C.R. § 1103-1:8.

   98.    FELC failed to provide, and still fails to provide, Plaintiffs and Class members with paid

   10 minute rest periods, as required by Colorado Wage and Hour Law.

   99.    At all times relevant to this Complaint, FELC was aware of the rest period requirements

   of Colorado Wage and Hour Law, and as such, FELC’s violations of Colorado Wage and Hour

   Law were willful.

   100.   On August 10, 2017, Johnson submitted a demand to FELC regarding FELC’s failure to

   provide her and the Class members with paid rest periods.

   101.   FELC did not pay anything in response to Johnson’s demand.

                                             COUNT IV:

                                       BREACH OF CONTRACT

   102.   Plaintiffs incorporate the facts alleged in each of the foregoing paragraphs as if fully set

   forth below.

   103.   In November 2016, FELC admitted to Plaintiffs and Class members that it owed them

   overtime compensation.

   104.   FELC promised and agreed to pay Plaintiffs and Class members the overtime

   compensation due to them for the hours they worked in excess of 40 per week or 12 per day from

   June 2014 to November 2016.




                                                  16
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 17 of 19




   105.   In reliance on that promise, Plaintiffs and Class members provided FELC with

   information regarding the overtime hours they worked and postponed attempts to collect unpaid

   overtime through other means, including litigation.

   106.   FELC breached its agreement with Plaintiffs and Class members by failing to pay them

   for all of the overtime hours they worked.

   107.   Plaintiffs and Class members have been harmed by FELC’s breach of their agreement.

                                                COUNT V:

                                       PROMISSORY ESTOPPEL

   108.   Plaintiffs incorporate the facts alleged in each of the foregoing paragraphs as if fully set

   forth below.

   109.   FELC promised and agreed to pay Plaintiffs and Class members the overtime

   compensation due to them for the hours they worked in excess of 40 per week or 12 per day from

   June 2014 to November 2016.

   110.   FELC knew, or should have known, that Plaintiffs and Class members would rely on its

   promise by preparing and submitting information regarding their overtime hours to FELC, and

   by postponing all other efforts to obtain the compensation due to them.

   111.   In reliance on that promise, Plaintiffs and Class members provided FELC with

   information regarding the overtime hours they worked and postponed attempts to collect unpaid

   overtime through other means, including litigation.

   112.   Plaintiffs and Class members were harmed based on their reasonable reliance on FELC’s

   representations when FELC broke its promises and refused to pay them for all of the overtime

   hours they worked.


                                                   17
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 18 of 19




   113.   FELC’s promises must be enforced to address the injustice Plaintiffs and Class members

   have experienced, and to prevent further injustice.

                                   VII.    PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully asks the Court to find in their favor and to award

   Plaintiffs and Class members:

          A. An Order granting conditional and final certification to the Class and appointing

              Plaintiff and their counsel as class representatives and representation;

          B. An Order declaring that the practices alleged herein violate the FLSA, Colorado

              Wage and Hour Law, the Colorado Constitution, and Colorado common law, and

              permanently enjoining Defendant from continuing such unlawful practices;

          C. Unpaid overtime compensation for all of the hours Plaintiffs and Class members

              worked in excess of 40 per week and/or 12 hours per day;

          D. Liquidated damages in an amount equal to the overtime compensation awarded;

          E. Statutory penalties under C.R.S. § 8-4-109;

          F. Plaintiffs’ reasonable attorney’s fees and costs; and

          G. All other and further relief as the Court may find to be equitable and just.

                                                         Respectfully submitted,

                                                         /s/ Adam M. Harrison
                                                         ______________________
                                                         David H. Miller
                                                         Adam M. Harrison
                                                         SAWAYA & MILLER
                                                         1600 Ogden Street
                                                         Denver, Colorado 80218
                                                         Telephone: 303.839.1650
                                                         E-mail: dmiller@sawayalaw.com
                                                         aharrison@sawayalaw.com

                                                   18
Case 1:17-cv-02074-MSK-KMT Document 1 Filed 08/29/17 USDC Colorado Page 19 of 19




                                            Alexander Hood
                                            Attorney and Director of Litigation
                                            Towards Justice
                                            1535 High Street, Suite 300
                                            Denver, Colorado 80218
                                            Telephone: 720.239.2606
                                            E-mail: alex@towardsjustice.org

                                            Counsel for the Plaintiffs Erin Johnson,
                                            Jocelyn Klein, and Laura Sciarcon,
                                            individually and on behalf of all others
                                            similarly situated




                                       19
